                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York


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                                                     February 12, 2019

BY ECF
The Honorable Ronnie Abrams
United States District Judge
United States District Court for the
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Nasim Rakhamimov,
               18 Cr. 72 (RA)

Dear Judge Abrams:

        The Government respectfully submits this letter in advance of the sentencing of
defendant Nasim Rakhamimov, currently scheduled for February 19, 2019. The defendant pled
guilty to conspiring to commit wire fraud, in violation of Title 18, United States Code, Section
371, for his role in a scheme to profit from falsely inflated recyclable container redemptions. For
the reasons set forth below, the Government believes that a sentence within the stipulated
Guidelines sentencing range of 33 to 41 months’ imprisonment is reasonable and appropriate in
this case.

                                           Background

                                  The Recyclable Container Act

        New York State’s Returnable Container Act (the “RCA”), codified at New York
Environmental Conservation Law, Article 27, Title 10, was initially enacted in or about 1983 as
a legislative response to litter, environmental damage, and related budgetary burdens associated
with the production and disposal of beverage containers, i.e., bottles and cans. Since its initial
enactment, the RCA has been amended at various times, including in 2009 and 2013, and
currently includes a regulatory scheme designed to promote the recycling of bottles and cans by
bottlers, beverage distributors, and container redemption centers. See generally Presentence
Investigation Report dated December 10, 2018, ECF Doc. 77, (“PSR”) at ¶ 12.

        Under the regulatory scheme established pursuant to the RCA, certain companies referred
to as “deposit initiators” must collect a $.05 deposit on every container for certain specified
beverages, including soft drinks, beer, and bottled water, sold in New York State. Deposit
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initiators are the first bottler, distributor, or dealer to collect the required deposits on beverage
containers. Deposit initiators must, among other things, register as a deposit initiator with the
State, establish a refund value account, track all deposits collected, and file quarterly reports with
DTF.

        “Refund value accounts” are bank accounts established by deposit initiators for the
purpose of holding the deposits paid by consumers. The accounts are used to reimburse
customers (or other companies, as described in more detail below) that redeem bottles to the
deposit initiator for the purpose of recycling those bottles. At the end of each fiscal quarter, the
deposit initiator must remit 80% of the balance of such refund value accounts (that is, the amount
remaining in those accounts after the reimbursement of deposits to redeeming persons or entities)
to the DTF; the remaining 20% of the quarterly balance may be withdrawn by the deposit
initiator for its own use (subject to certain restrictions not relevant to this application).

        In addition to the $.05 deposit that must be reimbursed to redeeming individuals or
entities, deposit initiators must pay a handling fee of $.035 per empty beverage container
redeemed by “redemption centers,” which are defined as, inter alia, “any person offering to pay
the refund value of an empty beverage container to a redeemer [that is, a person demanding the
refund value in exchange for an empty beverage container].” 6 N.Y.C.R.R. § 367.2(r); see also 6
N.Y.C.R.R. § 367.6 (“A distributor must pay to each dealer or redemption center a handling fee
of not less than 20 percent of the refund value of each empty beverage container accepted from
such dealer or redemption center. This handling fee must be paid in addition to the refund value
of each such empty beverage container.”).

        By 2017, the Federal Bureau of Investigation had learned that various corporate entities
in New York were using the RCA’s procedure to obtain illicit profits for themselves by falsely
inflating the number of redeemed bottles reported to the State.

                                          The Bottle Scam

        Nasim Rakhamimov and his cousin, Eldar Rakhamimov, are executives of Elramida
LLC, a Brooklyn, New York based bottle redemption center. PSR ¶ 14. Elramida LLC collects
recyclable beverage containers for redemption to various deposit initiators, including two
particular bottling companies, Pepsi and Canada Dry Bottling Companies, whose beverage
containers are each returned to the same redemption facility, 5 Boro Green Services, LLC,
located in Queens, New York (“Facility-1”). Elramida LLC pays members of the public $.05 for
each empty beverage container returned to Elramida LLC, and subsequently compiles and
delivers those empty containers to Pepsi and Canada Dry Bottling Companies, among other
deposit initiators, in return for reimbursement of the $.05 refund initially paid by Elramida LLC,
and a handling fee. PSR ¶¶ 15-17.

       In order to defraud Pepsi and Canada Dry Bottling Companies, and similarly situated
depositors, and ultimately the State, Nasim Rakhamimov, Eldar Rakhamimov, Joseph Finneran,
together with Stephen Baptiste, a co-conspirator working at Facility-1, among others, falsely
overstated the number of empty beverage containers delivered by Elramida LLC to Facility-1.
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The false inflation of recycled containers resulted in an overpayment of bottle deposits and
handling fees to Elramida LLC. Nasim Rakhamimov and Eldar Rakhamimov, in turn, paid a
portion of their illicit gains to Baptiste in the form of a cash kickback. PSR ¶ 19.

        Nasim Rakhamimov and his co-conspirators accomplished their fraud through false
invoices. Elramida—typically through Nasim Rakhamimov—maintained ledgers and invoices
reflecting estimates of the containers actually received by Elramida. After driving those
containers to Facility-1, the bottles were off-loaded by Baptiste, among others. Baptiste then
provided a separate invoice to the conspirators reflecting a falsely inflated number of containers.
Typically, the degree of false inflation equated to approximately $1,000 per truckload in
fraudulently inflated "redemptions" and handling fees to be paid to Elramida LLC by Pepsi and
Canada Dry Bottling Companies. Of that $1,000, Nasim Rakhamimov would allocate
approximately $700 to himself, Eldar Rakhamimov while $300 was allocated to Baptiste and the
driver who delivered bottles to 5 Boro from Elramida.1 PSR ¶¶ 21-23.

        In addition to 5 Boro, the conspiracy operated at other locations. For example, one of the
Elramida drivers who acted for a time as a confidential source (“CS-1”) provided information
that defendant Ruslan Kadirov engaged in the recycling scam by falsely inflating the reported
number of empty containers delivered by Kadirov to another deposit initiator, Corona a/k/a
Manhattan Beer. Bank records reveal that Corona has provided checks to various entities
controlled by Baptiste. With respect to Corona, Kadirov explained that he delivered empty
containers from Elramida LLC to Corona, where an employee of Corona falsely inflated the
number of redeemed containers and also left a certain amount of containers on Kadirov’s truck,
while reporting that those containers were in fact redeemed, thereby permitting Kadirov and his
co-conspirators to “redeem” the remaining containers on multiple occasions. PSR ¶ 39.

        Based on various defendants’ post-arrest statements, a wiretap, and Nasim
Rakhamimov’s ledgers, Nasim Rakhamimov is responsible for approximately $1.5 million in
losses, as follows:

    Entity                                         Losses
    New York State                                 705,882.35
    Pepsi/Canada Dry                               158,823.53
    5 Boro                                         132,352.94
    Manhattan Beer/Corona                          502,941.18
    Total                                          $1,500,00.00


                                       Procedural History

       Agents with the FBI arrested Nasim Rakhamimov on December 4, 2017, pursuant to
criminal complaint 17 Mag. 8999 (the “Complaint”). The Complaint charged Nasim

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 The Nasim Rakhamimov PSR incorrectly states that the $700 was shared between the
Rakhamimovs and Baptiste. See PSR ¶ 22.
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Rakhamimov, Eldar Rakhamimov, and others with conspiring to commit mail and wire fraud in
violation of Title 18, United States Code, Section 1349.

       On January 29, 2018, a grand jury returned an indictment charging Nasim Rakhamimov,
Eldar Rakhamimov, Nasim Rakhamimov, Ruslan Kadirov, Stephen Baptiste, and Joseph
Finneran with participating in a mail and wire fraud conspiracy. ECF Doc. 20.

       On September 18, 2018, Nasim Rakhamimov pleaded guilty to a superseding information
charging him with conspiring to commit wire fraud in violation of Title 18, United States Code,
Section 371. See ECF Doc. 60 (S2 Information), Minute Entry dated September 18, 2018 (plea).
Nasim Rakhamimov pled guilty pursuant to a plea agreement with the Government (the “Plea
Agreement”).

        During the plea proceeding, Nasim Rakhamimov admitted that he and others “falsely
inflate[d] the invoices of the number of bottles loaded on the trucks that we delivered to Pepsi
company. As a result, that caused an overpay of what we were supposed to be paid.” When the
Court inquired about whether it “was [his] intention in inflating these invoices to get the
overpayment,” the defendant admitted that it was. ECF Doc. 69, Plea Tr. 18:18-19:04.

        In the Plea Agreement, the parties stipulated that Guidelines sentencing range applicable
to Nasim Rakhamimov was 33 to 41 months’ imprisonment, based on an offense level of 20 and
a criminal history category of I. The parties computed the offense level as follows: (a) a base
offense level of 6, pursuant to U.S.S.G. § 2B1.1(a)(2), (b) an increase of 14 levels, because the
losses exceeded $550,00, but were less than $1,500,000, pursuant to U.S.S.G. § 2B1.1(b)(H), (c)
an increase of 3 levels, pursuant to U.S.S.G. § 3B1.1(b), because the defendant was an manager
or supervisor (but not an organizer or leader) of criminal activity that involved five or more
participants or was otherwise extensive, and (d) a decrease of 3 levels because of the defendant’s
timely acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1.

       Probation arrives at the same Guidelines sentencing range. See PSR ¶ 59-69 (calculating
an offense level of 20); PSR ¶ 70-73 (calculating a criminal history score of 0).

       Every other indicted defendant has also pleaded guilty. See, e.g., ECF Minute Entry dated
September 13, 2018 (Eldar Rakhamimov); ECF Minute Entry dated September 18, 2018 Joseph
Finneran); ECF Minute Entry dated October 15, 2018 (Ruslan Kadirov). No defendant has yet
been sentenced. As compared to his co-defendants, Nasim Rakhamimov is less culpable than
Eldar Rakhamimov, the scheme’s leader, but more culpable than the other participants.

                                           Discussion

       1.      Applicable Law

      The Guidelines still provide strong guidance to the Court in light of United States v.
Booker, 543 U.S. 220 (2005) and United States v. Crosby, 397 F.3d 103 (2d Cir. 2005). Although
Booker held that the Guidelines are no longer mandatory, it held also that the Guidelines remain
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in place and that district courts must “consult” the Guidelines and “take them into account” when
sentencing. 543 U.S. at 264. As the Supreme Court has stated, “a district court should begin all
sentencing proceedings by correctly calculating the applicable Guidelines range”: that “should be
the starting point and the initial benchmark.” Gall v. United States, 55 U.S. 38, 49 (2007).

        After that calculation, however, a sentencing judge must consider seven factors outlined
in Title 18, United States Code, Section 3553(a): “the nature and circumstances of the offense
and the history and characteristics of the defendant,” 18 U.S.C. § 3553(a)(1); the four legitimate
purposes of sentencing, see 18 U.S.C. § 3553(a)(2); “the kinds of sentences available,” 18 U.S.C.
§ 3553(a)(3); the Guidelines range itself, see 18 U.S.C. § 3553(a)(4); any relevant policy
statement by the Sentencing Commission, see 18 U.S.C. § 3553(a)(5); “the need to avoid
unwarranted sentence disparities among defendants,” 18 U.S.C. § 3553(a)(6); and “the need to
provide restitution to any victims,” id. § 3553(a)(7). In determining the appropriate sentence, the
statute directs judges to “impose a sentence sufficient, but not greater than necessary, to comply
with the purposes” of sentencing, which are:

        (A)     to reflect the seriousness of the offense, to promote respect for the law, and to
provide just punishment for the offense;
        (B)     to afford adequate deterrence to criminal conduct;
        (C)     to protect the public from further crimes of the defendant; and
        (D)     to provide the defendant with needed educational or vocational training, medical
care, or other correctional treatment in the most effective manner.

       18 U.S.C. § 3553(a)(2).

         Courts may not presume that the appropriate sentence necessarily lies within Guidelines
range, but “the fact that § 3553(a) explicitly directs sentencing courts to consider the Guidelines
supports the premise that district courts must begin their analysis with the Guidelines and remain
cognizant of them throughout the sentencing process.” Gall v. United States, 552 U.S. at 50 n.6.
Their relevance throughout the sentencing process stems in part from the fact that, while the
Guidelines are advisory, “the sentencing statutes envision both the sentencing judge and the
Commission as carrying out the same basic § 3553(a) objectives,” Rita v. United States, 551 U.S.
338, 348 (2007), and the Guidelines are “the product of careful study based on extensive
empirical evidence derived from the review of thousands of individual sentencing decisions,”
Gall, 552 U.S. at 46; see also Rita, 551 U.S. at 349. To the extent a sentencing court varies from
the Guidelines sentence, “[it] must consider the extent of the deviation and ensure that the
justification is sufficiently compelling to support the degree of the variance.” Gall, 552 U.S. at
50.

       2.      A Sentence Within The Stipulated Guidelines Range is Reasonable

        The Government respectfully submits that the parties’ stipulated Guidelines sentencing
range appropriately reflects Nasim Rakhamimov’s contributions to the Bottle Scam and accounts
for the seriousness of his criminal conduct, while promoting respect for the law, and providing just
punishment. See 18 U.S.C. § 3553(a)(1), (2)(A). Such a sentence would furthermore be designed
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to afford adequate deterrence. See 18 U.S.C. § 3553(a)(2)(B).

       First, Nasim Rakhamimov caused serious losses—totaling $1,500,000—to the State and to
innocent businesses, and did so for his own gain and for the gain of his co-conspirators.
Rakhamimov’s scheme was purposeful and persistent, and required a range of corrupt conduct
from forged records to kickbacks. Such brazen, harmful conduct merits a significant punishment.

        Second, a Guidelines sentence is warranted to address general deterrence. Although
different in kind from many “white collar” offenses, Rakhamimov’s offense bears the hallmarks
of a white-collar crime in that it rested on, and was propelled by, deceit. The legislative history of
18 U.S.C. § 3553 demonstrates that “Congress viewed deterrence as ‘particularly important in the
area of white collar crime.’” United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006) (citing
S. Rep. No. 98-225, at 76 (1983), reprinted in 1984 U.S.C.C.A.N. 3182, 3259); see also United
States v. Mueffelman, 470 F.3d 33, 40 (1st Cir. 2006) (deterrence of white-collar crime is “of
central concern to Congress”). General deterrence is seen as an important sentencing factor in such
cases because it is seen as effective. Martin, 455 F.3d at 1240 (“Because economic and fraud-
based crimes are more rational, cool, and calculated than sudden crimes of passion or opportunity,
these crimes are prime candidates for general deterrence.”) (quotation marks and citation omitted);
United States v. Edwards, 595 F.3d 1004, 1021 (9th Cir. 2010) (“[B]ank fraud, unlike an assault
in a tavern or even domestic abuse, tends to be a planned, deliberate crime, which allows plenty of
time for reflection, calculation of the odds of success or failure, and the ultimate decision.”). The
nature of Rakhamimov’s scheme rendered it more difficult to uncover—and his role more difficult
to identify—since it was accomplished involved multiple layers of co-conspirators acting in an
closely-knit and under-regulated industry. The Court should impose a sentence that deters others
from following his example.

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         For all these reasons, the Government respectfully submits that a term of incarceration
within the parties’ stipulated Guidelines range of 33 to 41 months’ imprisonment is appropriate
in this case.

                                             Respectfully submitted,

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